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                   EXHIBIT 8
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                                                     U.S. Department of Justice                         13059220


                                                     Civil Division, Fraud Section
                                                                                                    Nov 30 2006
                                                                                                      5:20PM




601 D Street, NW                                    Telephone: (202) 305-9300
Ninth Floor                                         Telecopier: (202) 616-3085
Washington, D.C. 20004
                                                    November 30, 2006
Via Electronic Transmission

R. Christopher Cook
Jones Day
51 Louisiana Ave., N.W.
Washington, DC 20001-2113


Re:     U.S. ex rel. Ven-a-Care of the Florida Keys Inc v. Abbott Laboratories, MDL No.
        1456/Civil Action No. 01-12257-PBS

Dear Chris:

        We received your November 28 letter regarding the issue of deliberative process. The
issues you raise are addressed below:

•       Your letter was not forwarded to the appropriate agency officials. We never made
        any such representation. Your letter has been forwarded to the appropriate agency
        officials.

•       Generalized discussions of AWP are “relevant to a case that purports to be about
        the reimbursement of drugs based on AWP.” That summary of the case is not correct.
        The case is about Abbott’s reporting of false prices to price reporting agencies to
        manipulate third party reimbursement for the drugs identified in the complaint. It is not
        about AWP-based reimbursement generally. You have not sufficiently explained how a
        privileged document titled “Re Proposed Methodology for Determining Average
        Wholesale Price (AWP)” relates to your client’s decision to report false prices for its
        drugs.

•       Government knowledge is “relevant to this case.” These kinds of statements reflect a
        fundamental misunderstanding of False Claims Act (FCA) law. The case is about
        Abbott’s conduct, not AWP reimbursement in general. We have already briefed the role
        of government knowledge in FCA cases in the motion to dismiss pleading practice. See
        United States’ Opposition to Abbott Laboratories, Inc.’s Motion to Dismiss at 23-27. The
        issue of government knowledge only goes to a defendant’s scienter, and only where there
        is a meeting of the minds between the government and the defendant on the conduct at
        issue and government approval. The government never agreed to or approved Abbott’s
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      false price reporting for the drugs identified in the complaint; it sued Abbott for that
      conduct. You have not explained sufficiently why the deliberative process privilege
      should be waived when the information sought has no bearing on Abbott’s culpability for
      its conduct as set forth in the government’s complaint.

•     Judge Saris does not agree with the United States’ position that government
      knowledge is irrelevant and need not be produced in discovery. As you note, Judge
      Saris said that it is important to hear what the government knew or did not know about
      the Abbott-specific fraud set forth in the United States’ complaint. The issue therefore is
      (1) what information Abbott provided about its price reporting and spread marketing
      conduct – incidentally, no evidence has presented to us thus far showing that Abbott
      made any such disclosure – and (2) whether the government made a fully informed
      decision to allow Abbott’s false price reporting. Please indicate to us the documents on
      which you seek waiver of the deliberative process privilege that reflect that type of
      dialogue.

•     Advise by December 1, 2006 whether the United States will produce documents
      protected by the deliberative process privilege. Your letter is being reviewed. We will
      not be producing any privileged documents on the arbitrary date in your letter, but look
      forward to working with you to address the questions and issues raised in our respective
      letters in the near term.

                                          Very Truly Yours,


                                               /s/
                                         Justin Draycott
                                         Trial Attorney
                                    Commercial Litigation Branch

cc:   George Henderson
      Laurie Oberembt
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